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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                        BROWNSVILLE DIVISION

STATE OF TEXAS, et al.,                            )
                                                   )
                                       Plaintiffs, )
                                                   )
v.                                                 )   Case No. 1:18-cv-00068
                                                   )
UNITED STATES OF AMERICA, et al.,                  )
                                                   )
                                     Defendants, )
                                                   )
and                                                )
                                                   )
KARLA PEREZ, et al.;                               )
                                                   )
STATE OF NEW JERSEY,                               )
                                                   )
                           Defendant-Intervenors. )

           PLAINTIFF STATES’ REPLY IN SUPPORT OF THEIR
                 MOTION FOR SUMMARY JUDGMENT

                                    and

          RESPONSE IN OPPOSITION TO DACA INTERVENORS’
                MOTION FOR SUMMARY JUDGMENT
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                         SUMMARY OF THE ARGUMENT

      According to the first part of the Defendant-Intervenors’ briefs, it appears that

Plaintiff States have won this case. New Jersey claims that Plaintiff States have “got

what they asked for” because “the Federal Government is no longer enforcing” the

2012 DACA Memorandum. See ECF 502 at 1, 3. Going even farther, the DACA

Intervenors proclaim that Plaintiff States are attacking a “strawman” because the

2012 DACA Memorandum “no longer exists.” See ECF 504 at 1. If that were true, it

would undoubtedly come as a shock to those unilaterally granted forbearance from

removal and the attendant benefits by the Obama administration through the 2012

DACA Memorandum.

      But, of course, that’s not true. The U.S. Supreme Court has now recognized

that the 2012 DACA Memorandum “created a program for conferring affirmative

immigration relief.” See Dep’t of Homeland Sec. v. Regents of the Univ. of Cal., 140 S.

Ct. 1891, 1906 (2020). Neither the Wolf Memorandum nor the Edlow Memorandum

issued in 2020 (collectively, the “2020 Memoranda”) vacated or rescinded the 2012

DACA Memorandum, much less terminated the entire DACA program. In fact, the

2020 Memoranda expressly state that policy concerns with the 2012 DACA

Memorandum “may warrant its full rescission.” ECF 502-1 at NJAPP005 (emphasis

added). Until then, the Federal Defendants made certain changes to the program,

effective “pending a full and careful reconsideration of the DACA policy.” ECF 502-1

at NJAPP011. “During that consideration, DACA [will] remain available to current

beneficiaries. . . .” ECF 501 at 1.



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      And even those attempted changes are being challenged in no less than

fourteen different lawsuits in front of eight different federal judges. See ECF 501 at

11 n.6. Just a week ago, one of those judges granted summary judgment that the Wolf

Memorandum is invalid. See Ex. 1. Thus, the thrust of the Defendant-Intervenors’

argument in response to the pending motion for summary judgment—that Plaintiff

States’ claims are moot—is now likely moot itself. Despite the Defendant-Intervenors’

claims, there is no question that DACA remains operational today.

      In fact, the second part of the Defendant-Intervenors’ briefs focusing on the

alleged ongoing reliance interests proves that DACA is as unlawful now as it ever

was. The Defendant-Intervenors continue to claim that DACA recipients, as well as

their families, their employers, and their resident States, are still allegedly relying

on the attendant benefits granted to DACA recipients. See ECF 502 at 42–48; ECF

504 at 46–50. By their own admissions, the 2020 Memoranda did not end the

attendant benefits for existing DACA recipients. Those elements make DACA

procedurally and substantively unlawful, and those elements continue today.

      Thus, the focus of this Court’s review has not changed. As this Court

recognized, “[i]n June of 2012, the DHS adopted [DACA] by means of a

memorandum.” ECF 319 at 7. The U.S. Supreme Court has now confirmed this

Court’s prior ruling that DACA “allots lawful presence and its corresponding benefits”

to those meeting its stated criteria. Compare ECF 319 at 104 with Regents, 140 S. Ct.

at 1906. That unlawful program—and the memorandum that created it—still exists

today. Therefore, the 2012 DACA Memorandum must be set aside.



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                                        ARGUMENT 1

I.     The 2020 Memoranda do not moot the challenge to DACA.

       The thrust of the Defendant-Intervenors’ responses is that the 2020

Memoranda have mooted Plaintiff States’ claims. Not so.

       Last Friday, the U.S. District Court for the Eastern District of New York 2 ruled

that Acting Secretary Wolf lacked authority to change the contours of the DACA

program. See Ex. 1. The court specifically cited to the set-aside provision of the

Administrative Procedure Act, 5 U.S.C. § 706(2)(C). See id. at 2. The plaintiffs’

motions for relief in light of the court’s ruling are due November 24, 2020, and the

defendants’ response is due December 1, 2020. Clerk’s Minute Entry at Status

Conference, Batalla Vidal v. Wolf, No. 1:16-cv-04756 (E.D.N.Y. Nov. 18, 2020). And

that case is just one of fourteen challenging the 2020 Memoranda. Thus, the 2020

Memoranda are likely to be dead letters before long.

       But even on their own terms, the 2020 Memoranda do not change the focus of

this Court’s analysis. The Federal Defendants created the DACA program through

the 2012 DACA Memorandum. In Regents, the Supreme Court recognized that the


1 Plaintiff States incorporate by reference the arguments and evidence in their briefing on
their motion for preliminary injunction as well as their prior replies in support of their initial
motion for summary judgment. ECFs 371, 372, & 413.
2 Last Friday’s order is in the same court and same cause number as one of the two
preliminary injunctions against the attempt to completely rescind the 2012 DACA
Memorandum in 2017. Compare Ex. 1 with ECF 188. That case began as a collateral attack
on this Court’s preliminary injunction against the 2014 Memorandum that expanded DACA
and created the Deferred Action for Parents of Americans program. See ECF 188 at 8–9. And
despite that court’s injunction, and the 2017 Memorandum that purported to rescind the 2012
DACA Memorandum, this Court proceeded to evaluate the merits of Plaintiff States’ motion
for preliminary injunction. ECF 319 at 13–26.


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2012 DACA Memorandum did not announce a passive non-enforcement policy.

Regents, 140 S. Ct. at 1906. In truth, the 2012 DACA Memorandum “created a

program for conferring affirmative immigration relief.” Id. (emphasis added). The

2012 DACA Memorandum “directed USCIS to establish a clear and efficient process

for identifying individuals who met the enumerated criteria.” Id. (internal quotation

omitted). And this Court recognized that “DHS adopted [DACA] by means of a

memorandum issued by then-Secretary Janet Napolitano.” ECF 319 at 7.

      The 2020 Memoranda do not function without the 2012 DACA Memorandum.

They do not lay out the criteria for DACA eligibility. They do not grant deferred action

to any new population of eligible recipients. And, unlike the 2012 DACA

Memorandum, the 2020 memoranda are silent on what to do when eligible

individuals are encountered by U.S. Immigration and Customs Enforcement, U.S.

Customs and Border Protection, and U.S. Citizenship and Immigration Services.

      The first line of the Wolf Memorandum expressly acknowledges that the

Federal Defendants “established the policy known as Deferred Action for Childhood

Arrivals (DACA) through [the 2012 DACA Memorandum].” ECF 502-1 at NJAPP002.

It also acknowledges that DHS attempted to rescind that DACA policy through

additional memoranda in 2017 and 2018. Id. And it demonstrated how to rescind

prior memoranda by doing exactly that to the 2017 and 2018 memoranda. Id. (“By

this memorandum, I am rescinding the 2017 and 2018 memoranda . . . .”).

      The 2020 Memoranda did not rescind the 2012 DACA Memorandum. Instead

they only placed limits on the Federal Defendants’ ability to grant initial DACA



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applications and applications for advanced parole. Id. at 6. But neither 2020

Memorandum limits the employment authorization or Social Security and Medicare

benefits granted to existing DACA recipients. Such benefits make DACA unlawful,

and those benefits continue to flow from the policy that Federal Defendants created

by memorandum in 2012.

      As such, Plaintiff States still have a “legally cognizable interest in the outcome”

of this case because the Executive continues to maintain the challenged DACA policy.

Yarls v. Bunton, 905 F.3d 905, 909 (5th Cir. 2018). DACA has not “expired or been

repealed.” Spell v. Edwards, 962 F.3d 175, 179 (5th Cir. 2020). Nor have plaintiffs

received “the very relief their lawsuit sought.” Amawi v. Paxton, 956 F.3d 816, 821

(5th Cir. 2020). Plaintiff States are in essentially the same position as when this

Court issued its preliminary-injunction ruling, during which time several courts had

enjoined the Executive’s attempt to rescind DACA. If the rescission of DACA in toto

did not moot this case, then marginal, temporary changes to the implementation of

DACA do not moot it either.

      It makes no difference that the Federal Defendants announced interim

changes in light of Regents. Cf. Sossamon v. Lone Star State of Texas, 560 F.3d 316,

325 (5th Cir. 2009), aff’d on other grounds sub nom. Sossamon v. Texas, 563 U.S. 277

(2011). When considering a defendant’s voluntary compliance, “the goal is to

determine whether the defendant’s actions are ‘litigation posturing’ or whether the

controversy is actually extinguished,” Yarls, 905 F.3d at 910, and “[w]ithout evidence

to the contrary,” the Court “assume[s] that . . . changes to official governmental policy



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are not mere litigation posturing,” Sossamon, 560 F.3d at 325. But here, the

Executive’s post-Regents memoranda do not even purport to cease the controversy

over DACA. They merely suspend some aspects of DACA pending further agency

review. There has been no “rewriting of agency rules” governing DACA that would

suggest the program is over. Watters v. Otter, 981 F. Supp. 2d 912, 935 (D. Idaho

2013).

         In other words, there is still a live controversy because the Executive has not

“discontinue[d] [the] challenged practice” of DACA. Fantasy Ranch, Inc. v. City of

Arlington, 459 F.3d 546, 564 (5th Cir. 2006), abrogated on other grounds by Reed v.

Town of Gilbert, 576 U.S. 155 (2015). Even if the Executive’s post-Regents DACA

memoranda are sincere, nothing in them “eliminates [the] actual controversy”

surrounding DACA that is before the Court. Fontenot v. McCraw, 777 F.3d 741, 747

(5th Cir. 2015).

         Indeed, the Executive has not even announced a formal policy change

rescinding DACA, as it attempted to do in Regents. To the contrary, the Executive

has instructed that it will “Adjudicate all pending and future properly submitted

DACA renewal requests and associated applications for Employment Authorization

Documents from current beneficiaries.” ECF 502-1 at NJAPP008; see also ECF 501

at 1 (“During that consideration, DACA would remain available to current

beneficiaries . . . .”). There is thus a reasonable expectation that the challenged

conduct in maintaining the DACA program will recur; whatever interim measures

the Executive has taken have not “completely and irrevocably eradicated the effects



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of the alleged violation.” Tex. Office of Pub. Util. Counsel v. F.C.C., 183 F.3d 393, 413–

14 (5th Cir. 1999) (citing Cty. of Los Angeles v. Davis, 440 U.S. 625, 631 (1979)).

          Moreover, any interim change in administering the DACA program is “subject

to withdrawal at the discretion of [Defendant].” Hernandez v. Cremer, 913 F.2d 230,

235 (5th Cir. 1990). It is far from clear that the interim administrative changes cannot

reasonably be expected to be revoked or modified. As such, “[i]ntervening events have

not ‘irrevocably eradicated the effects of the alleged violation.’” Id. (quoting City of

L.A. v. Lyons, 461 U.S. 95, 101 (1983)). Accordingly, Plaintiff States’ claims are not

moot. 3

II.       Nothing in the 2020 Memoranda changes DACA’s procedural and
          substantive unlawfulness.

          Moving past Defendant-Intervenors’ false claim that the 2020 Memoranda

mooted Plaintiff States’ claims, they are left with arguments that this Court has

already rejected. The DACA Intervenors claim that Regents leaves open the

possibility of a program that grants only forbearance from removal. ECF 504 at 39–

40. But this case is about DACA, not such a theoretical alternative program. Article

III prohibits this Court from passing judgment on such hypothetical scenarios.

          In reality, the Supreme Court confirmed the central tenant of this Court’s prior

holding—that “the DACA Memorandum does not announce a passive non-

enforcement policy; it created a program for conferring affirmative immigration


3 For the same reasons, the 2020 Memoranda have no effect on this Court’s prior ruling that
“this case presents a justiciable controversy.” ECF 319 at 27. Contrary to their statement
that the “Federal Defendants are no longer enforcing 2012 DACA,” ECF 504 at 34, the DACA
Intervenors’ own evidence proves otherwise.


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relief.” 4 Regents, 140 S. Ct. at 1906. The Federal Defendants agree that “Fifth Circuit

precedent and this Court’s prior ruling likely require this Court to hold that DACA is

inconsistent with the Immigration and Nationality Act and should have been

promulgated using notice and comment procedures.” ECF 501 at 1–2. Further, they

acknowledge that the Supreme Court “discussed but did not disturb this precedent in

Regents.” Id. at 11 n.5.

       If the 2020 Memoranda are set aside, the Federal Defendants will—for the first

time since this lawsuit was filed—take applications from individuals who have never

applied for DACA before. And to the extent that the 2020 Memoranda will continue

to exist at all, they do not change the Court’s analysis.

       A.     The attempted change to advance parole does not make DACA
              any more lawful.

       The Defendant-Intervenors argument that the 2020 Memoranda “further

attenuates the connection between forbearance and benefits,” ECF 504 at 37, fails for




4 The DACA Intervenors claim that “DACA recipients gain access to benefits” through
separate regulations. But “[t]his argument was specifically dispatched by the Fifth Circuit in
[Texas v. United States, 809 F.3d 134, 168–69 (5th Cir. 2015) (“Texas I”)]. There, the court
said that such a reading of the regulation—to allow the agency to issue employment
authorization to any class of illegal aliens whom the DHS declines to remove—would be
outside the powers authorized by the INA. Id.” ECF 319 at 77–78 n.79. As the Supreme Court
recognized, it is DACA’s grant of “lawful presence” that made its recipients eligible for those
benefits. Regents, 140 S. Ct. at 1911 n.5. The legal contours of this case might be different
had the Federal Defendants granted only removal forbearance. But, as the declarations
attached to the Defendant-Intervenors’ briefing show, DACA granted lawful presence along
with the benefits attendant to that status. See also ECF 501 at 2–3 (“The DACA policy made
it possible for those granted deferred action to obtain employment authorization in this
country under existing regulations and opened the door for some DACA recipients to obtain
advance parole.” (internal citation omitted)). And, in any event, Plaintiff States challenge
those regulations as applied to DACA recipients. See ECF 104 ¶¶ 344–50.


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three reasons. First, they cite only to the purported new restrictions on advance

parole. Advance parole is merely one of the unlawful benefits granted to DACA

recipients. Regents, 140 S. Ct. at 1906. Those other benefits are untouched by the

2020 Memoranda. Second, those new restrictions will be gone should the U.S. District

Court for the Eastern District of New York (or any of the other seven judges

considering similar challenges) set aside the 2020 Memoranda.

      Third, even under the new regulations, advance parole for DACA recipients is

still unlawful. First and foremost, that the Executive continues to consider DACA

recipients for advance parole in any circumstances confirms what Plaintiff States

have said of DACA all along: DACA confers a legal status and attendant benefits. The

Executive does not consider aliens present in the United States without lawful status

to be eligible for advance parole. ECF 9 at App.1232; see also Advance Parole, U.S.

Customs and Border Protection, https://www.cbp.gov/travel/us-citizens/advance-

parole (last visited November 20, 2020) (“Aliens in the United States are not eligible

for Advance Parole if they are . . . In the United States illegally.”).

      But once the Executive grants DACA relief to an alien, that alien becomes

eligible to receive permission from the Executive to leave the country and return

under a grant of advance parole. ECF 9 at App.1232. Further, the Executive does not

consider travel from the United States under a grant of advance parole to be a

“departure” for purposes of triggering the INA’s 3- and 10-year inadmissibility bars

that apply once an alien has accrued unlawful presence. See, e.g., Matter of Arrabally

and Yerrabelly, 25 I&N Dec. 771, 779 (BIA 2012). Thus, an unlawfully present alien



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could face severe immigration consequences for leaving the country, while a DACA

recipient would not. This means that a DACA recipient who is currently ineligible to

adjust status to lawful-permanent-resident status could travel abroad, return under

a grant of advance parole, and cure the bar to adjustment of status from having been

present without admission or parole, all without triggering a separate inadmissibility

bar from prior unlawful presence. See 8 U.S.C. § 1255(a), (a)(2) (requiring that an

alien be “admitted or paroled” and “admissible” in order to adjust status). Indeed, as

Plaintiff States have explained, a significant number of DACA recipients were likely

able to launder their prior unlawful presence into a pathway to citizenship through

advance parole. ECF 486 at 39–41.

      Additionally, although the Executive has purportedly narrowed the expansive

class of aliens eligible for advance parole through DACA, the practice still exceeds

the INA’s scope. The INA does not authorize the Executive to unilaterally authorize

aliens of its choosing, who are unlawfully present in the United States, to leave this

country and then return to resume their previous unlawful status. The humanitarian-

parole statute, 8 U.S.C. § 1182(d)(5)(A), does not provide such authority. That statute

contemplates limited Executive authority to temporarily parole aliens into the United

States “for urgent humanitarian reasons” or “significant public benefit.” Id. It does

not explain the Executive’s practice of granting advance parole via DACA to

unlawfully present aliens seeking to leave the United States. For example,

Intervenors argue that DACA recipients can now “only obtain advance parole if they

meet the applicable statutory criteria, e.g., to ‘obtain life-sustaining medical



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treatment that is not otherwise available to the alien in the United States.’” ECF 502-

1 at NJAPP018. But seeking medical treatment outside the United States does not

explain why parole back into the United States serves “urgent humanitarian reasons”

or “significant public benefit.” 8 U.S.C. § 1182(d)(5)(A). 5

       B.     The level of discretion used in adjudicating DACA applications
              does not change the relevant analysis.

       Likewise, the language in the 2020 Memoranda about discretion does not help

the Defendant-Intervenors’ cause. First, as with the newly stated limitations on

advance parole, that additional language is likely soon to be set aside. Even if it is

operative, the amount of discretion does not cure the substantive unlawfulness of

granting the attendant benefits to DACA recipients, as this Court previously found

even without conclusively resolving the question of discretion. ECF 319 at 102–03.

And, as this Court previously held, “given the overwhelming evidence concerning the

rights conferred and the obligations imposed,” DACA is a substantive rule that

required notice-and-comment rulemaking regardless of how much discretion

adjudicators are exercising. ECF 319 at 103.

       To the extent that discretion may be relevant, the Defendant-Intervenors cite

the wrong numbers regarding the denial rate of DACA applications since 2018. Both

the DACA Intervenors and New Jersey cite to the Federal Defendants’ response to

interrogatories regarding the denial rate of initial DACA applications. ECF 502 at


5 The continued availability of advance parole to DACA recipients also proves that the
Federal Defendants continue to be in violation of their constitutional obligation to take care
that Congress’s laws are faithfully executed. Nothing in the parties’ responses changes that
analysis.


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28–29; ECF 504 at 44–45. But this number includes applications from individuals

who have never before applied for DACA as well as individuals whose DACA status

expired more than three years ago. ECF 504-2, Ex. 14 at 372. Since the 2017

rescission memorandum, the Federal Defendants have uniformly denied applications

from individuals who never previously applied for DACA. ECF 502-1 at NJAPP007.

Documents produced by the Federal Defendants show that applications from

individuals who have never before applied for DACA can make it into the adjudication

workflow, and such applications are denied rather than rejected. See Exs. 2, 3, 4. So

although it makes sense that the denial rate of initial applicants would be higher,

Defendant-Intervenors have not demonstrated that the rate of discretionary denials

has materially increased. 6

       In contrast, the response to Interrogatory No. 16 is more telling of how little

discretion is being used. For individuals seeking to renew their DACA status, the

Federal Defendants are approving those applications at a rate of over 99%. ECF 504-

2, Ex. 14 at 426–32. That rate is higher than even the 95% cited by the Fifth Circuit

in Texas I, a rate that proved DACA did “not genuinely leave the agency and its

employees free to exercise discretion.” Texas I, 809 F.3d at 172, 176. Thus, even if

discretion were relevant to the Court’s analysis, the data shows that the Federal




6Additionally, “based on an inquiry of relevant USCIS service centers, Federal Defendants
are anecdotally aware of one initial DACA request” from the Plaintiff States that was denied
despite the requestor meeting the criteria in the 2012 DACA Memorandum. ECF 502-1 at
NJAPP025. One such denial out of thousands of adjudications cannot be said to prove
discretion.


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Defendants are continuing to rubberstamp the applications for individuals who

already have DACA.

       Thus, DACA, as it is being implemented today, is just as unlawful as ever.

III.   Plaintiff States have standing to challenge DACA.

       As this Court previously concluded, Plaintiff States have standing to challenge

DACA, both with the special solicitude due to the States under Massachusetts v. EPA,

549 U.S. 497 (2007) and without. See ECF 319 at 55 n.51. “[N]othing has changed

that would call that holding into question.” 7 See ECF 501 at 14–15 n.8. The DACA

Intervenors are the only party that challenge Plaintiff States’ standing at this point.

Their briefing currently in front of the Court is merely a repackaging of arguments

already rejected. And their motion for summary judgment that Plaintiff States lack

standing fails for the same reasons.

       As for the special solicitude owed Plaintiff States in the standing analysis, the

Court has already squarely rejected the argument that, unlike the APA, the Clean

Air Act gave Massachusetts a specific procedural right to challenge the action. See

ECF 319 at 34–35 (citing Texas I, 809 F.3d at 151–55). The Court correctly recognized

in its previous order that, even though “the Clean Air Act provided a more specific




7 The DACA Intervenors claim that the standing analysis in Regents is “wholly unrelated” to
Plaintiff States’ standing here. That is incorrect. For example, Maryland and Minnesota
claimed that rescinding DACA would cause some of its recipients to “lose their employer-
based health insurance, imposing higher healthcare costs on the state.” Regents of the Univ.
of Cal. v. Dep’t of Homeland Sec., 279 F. Supp. 3d 1011, 1034 (N.D. Cal. 2018). That
acknowledges that DACA recipients without employer-based health insurance are currently
imposing healthcare costs on Plaintiff States.


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procedural right than the APA’s, . . . the difference did not change Massachusetts v.

EPA’s applicability.” ECF 319 at 35.

      Next, not only have Plaintiff States provided expert 8 and lay testimony to

prove that DACA has harmed their quasi-sovereign interests, New Jersey includes

ample evidence of employers who have hired DACA recipients and would have to

replace them with other lawfully present workers should the program end. See ECF

502 at 47–48 (“If DACA recipients were unable to continue working at Microsoft, they

‘would be very difficult to replace.’”); ECF 502-3 at NJAPP237 (study explaining that

the “the termination of DACA would reduce, but not eliminate employment in the

DACA population.”). In fact, the organization representing the DACA Intervenors in

this lawsuit previously sued a company alleging that it was unlawfully refusing to

hire DACA recipients. 9 And an article introduced by the DACA Intervenors concludes

that “immigration lowers the wage of competing workers,” and “the evidence

consistently suggests that immigration has indeed harmed the employment

opportunities of competing native workers.” ECF 400-8 at 276, 278. This Court has

already concluded that “Texas has demonstrated a quasi-sovereign interest in the

economic well-being of its citizens, which amply supports Texas’s entitlement to




8To the extent that Defendant-Intervenors are re-urging their motion to strike Plaintiff
States’ expert witnesses, Plaintiff States respond by incorporating by reference their
previously filed response. ECF 411.
9Press Release, MALDEF, MALDEF and VMware Resolve DACA Employment Suit (Oct. 6,
2020), https://www.maldef.org/2020/10/maldef-and-vmware-resolve-daca-employment-suit/.


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special solicitude in the standing analysis.” ECF 319 at 35–36. 10 The same conclusion

follows here.

       Likewise, this Court has already rejected each of Defendant-Intervenors’

arguments regarding parens patriae standing and should do so again here. This Court

previously noted that Defendant-Intervenors’ quoted statement from Alfred L. Snapp

& Son is “dictum relegated to a closing footnote in the case, unnecessary to the Court’s

holding that Puerto Rico had parens patriae standing to sue private businesses in

Virginia.” See ECF 319 at 42. Moreover, the Supreme Court in Massachusetts v. EPA,

549 U.S. 497 (2007), disavowed the argument that parens patriae standing is

categorically barred in State suits against the federal government. See id. at 520 n.17.

As this Court correctly recognized in its previous order, Plaintiff States are asserting

their rights under federal law, not seeking to protect its citizens from the operation

of a federal statute. See ECF 319 at 43. And, similar to the quasi-sovereign interest

discussed above, there is more evidence than ever to support this Court’s prior ruling

that “but for DACA, these businesses would need work-authorized individuals to

meet their business needs, and they would have to hire applicants from a pool

consisting of those legally in the United States.” Id. at 40.

       In addition to the work authorization that continues under the 2020

Memoranda, Plaintiff States continue to incur expenses to provide social services to


10The five words the Defendant-Intervenors excise from Murphy v. NCAA, 138 S. Ct. 1461,
1479–81 (2018), hardly support a different a conclusion. Murphy discussed commands from
the federal government to the States in the context of the anticommandeering doctrine. And
the case did not once discuss special solicitude due to States in the standing analysis. Thus,
the Fifth Circuit’s conclusion in Texas I concerning special solicitude still holds.


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DACA recipients. For example, New Jersey admits that only “approximately 55% of

DACA recipients have employer-sponsored health care.” ECF 502 at 44–45. That

means 45% currently do not and are “likely . . . eligible for state-funded healthcare.”

Id. at 45. The DACA Intervenors claim that Dr. Perryman “provides no evidence of

costs to Texas related to DACA in his report or analysis.” ECF 504 at 19. That is false.

In fact, eight pages later in their response, the DACA Intervenors once again cite to

the cost-benefit analysis Dr. Perryman performed at the preliminary injunction phase

of this case. Id. at 27. A cost-benefit analysis, by definition, requires determining the

costs to weigh against the benefits. And Dr. Perryman himself confirmed that he

calculated the costs to Texas to perform his analysis. ECF 284-10 at App. 1651 (“Q:

Okay. So when you set up the system, it did, in fact, calculate the projected costs

incurred by Texas because of DACA recipients in the state? A: Yes.”).

       Once again, the DACA Intervenors put forth arguments regarding Dr. Wong’s

survey that this Court has already rejected. ECF 319 at 52–53. 11 The DACA

Intervenors incorrectly refer to him as “New Jersey’s expert.” ECF 504 at 21. In fact,

Dr. Wong and other portions of his survey were put forth by the DACA Intervenors

in response to Plaintiff States’ motion for preliminary injunction. See ECF 225-3, Ex.

75 at 170. The 2020 Memoranda, to the extent they will continue in effect, do not


11 The DACA Intervenors argue that the question could have been asking whether DACA
recipients would take visits abroad if DACA ended with the intent to return to the United
States. That is nonsensical. The only way DACA recipients could reasonably expect to leave
and then return lawfully is by obtaining advance parole made available through DACA. In
other words, DACA Intervenors argue that the question should be read to ask how likely it
is that DACA recipients would leave the country with the intent to return even though they
would have no lawful means to do so.


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reduce the incentive for existing DACA recipients to remain in the United States.

And the DACA Intervenors have never argued that not a single DACA recipient will

leave the United States should DACA end. See also ECF 502-2 at NJAPP161

(“Enjoining DACA may force these students to stop their studies, leave the

University, and perhaps leave the United States.”); ECF 502-2 at NJAPP180 (“I may

have to move to a country I did not grow up in.”). In fact, DACA Intervenors admit

that “any federal policy, and any federal immigration policy, is certain to have

consequences for whether there are more (or fewer) residents in a given state, with

attendant changes in healthcare, education, and law enforcement costs . . . .” See ECF

224 at 30; cf. Dep’t of Commerce v. New York, 139 S. Ct. 2551, 2566 (2019) (“Because

Article III requires no more than de facto causality, traceability is satisfied here.”

(internal citation and quotation omitted)).

        Finally, the DACA Intervenors’ renewed attempt to argue the offsetting-

benefits theory to defeat standing has now twice been rejected by this Court. ECF

473 at 5–6; ECF 319 at 54. “Once injury is shown, no attempt is made to ask whether

the injury is out-weighed by benefits the plaintiff has enjoyed from the relationship

with the defendant. . . . [S]tanding analysis is not an accounting exercise.” ECF No.

319 at 54 (quoting Texas I, 809 F.3d at 155–56).

IV.     The APA requires that DACA be set aside.

        The law dictates vacatur is the appropriate remedy. Under Section 706 of

the APA, 5 U.S.C. § 706, when a reviewing court finds that an agency rule violates

the APA, it “‘shall’—not may—‘hold unlawful and set aside’ the agency action.” Sw.

Elec. Power Co. v. EPA, 920 F.3d 999, 1022 (5th Cir. 2019) (citing Checkosky v. SEC,

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23 F.3d 452, 491 (D.C. Cir. 1994)). When a court “hold[s] unlawful and set[s] aside”

agency rules that are “arbitrary, capricious, an abuse of discretion, or otherwise not

in accordance with law,” 5 U.S.C. § 706(2)(A), “the ordinary result is that the rules

are vacated.” Nat’l Mining Ass’n v. U.S. Army Corps of Eng’rs, 145 F.3d 1399, 1409

(D.C. Cir. 1998) (citation omitted).

       Section 706 is not limited to appellate courts; district courts have a duty to

vacate unlawful agency actions as well. See Nio v. U.S. Dep’t of Homeland Sec., 385

F. Supp. 3d 44, 68–69 (D.D.C. 2019) (vacating arbitrary and capricious Department

of Defense requirements rather than issuing a permanent injunction, and stating

that “[g]enerally, when a court finds that a challenged action is arbitrary and

capricious, the remedy is vacatur”); Am. Stewards of Liberty v. Dep't of Interior, 370

F. Supp. 3d 711, 728 (W.D. Tex. 2019) (quoting Judulang v. Holder, 565 U.S. 42, 53

(2011)); AquAlliance v. U.S. Bureau of Reclamation, 312 F. Supp. 3d 878, 880 (E.D.

Cal. 2018) (vacating an agency report that violated the National Environmental

Policy Act and stating that vacatur is the “presumptive remedy” for unlawful agency

action).

       As such there is no need to decide the four factors applicable to a request for a

permanent injunction. 12 In fact, an injunction would “not have any meaningful


12 Even if injunctive relief were necessary to remedy Plaintiffs’ injuries, Plaintiff States would
be entitled to such relief. With respect to the merits, the binding precedent and this Court’s
rulings already establish that DACA is procedurally and substantively unlawful. See Texas
I, 809 F.3d at 171–78. With respect to irreparable harm, this Court has already held that the
evidence of ongoing damages supports “a finding of injury that is irreparable.” ECF No. 319
at 107. With respect to the balance of hardships between the parties, Plaintiff States are not
seeking immediate termination of existing grants of deferred action status but would be
agreeable to a judicial stay to allow for an orderly wind-down of the program. ECF 486 at 46.

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practical effect independent of its vacatur.” Monsanto Co. v. Geertson Seed Farms,

561 U.S. 139, 165 (2010). And “drastic and extraordinary remedy” of a permanent

injunction should not issue “[i]f a less drastic remedy,” such as a vacatur, is sufficient

to redress the plaintiff’s injuries. Id. at 165–66.

       Likewise, as this Court has already stated, the “requirement that immigration

policy be uniform” must inform the remedial analysis. ECF No. 319 at 17. Setting

aside the 2012 memorandum is consistent with “strong federal interest in the

uniformity of federal immigration law.” Batalla Vidal v. Nielsen, 279 F. Supp. 3d 401,

438 (E.D.N.Y. 2018) (citing U.S. Const. art. I, § 8, cl. 4).

       The only argument the Federal Defendants make against Plaintiff States’

motion for summary judgment is that the Court should “permit DHS to continue its

policy deliberations regarding the future of DACA.” ECF 501 at 14. Similarly, the

Defendant-Intervenors suggest that the Court should remand DACA to the Federal

Defendants if it finds it unlawful. Neither of those alternatives is adequate.

       There is no guarantee that the Federal Defendants will act or when they may

do so. But more importantly, there is ample evidence—and a litany of cases—that

any attempt to rescind or redesign the program will only guarantee additional,

protracted litigation aimed at keeping the current DACA program in place. The

Federal Defendants have attempted to reconsider DACA multiple times without



Protecting the rule of law by giving effect to Congress’s comprehensive statutory scheme for
immigration—rather than a program that overrode these laws without even allowing for the
public to be heard through the notice and comment process—clearly evidences the public
benefit manifest in bringing an orderly end to this example of executive overreach and
restoring proper principles of separation of powers.


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success. Their first attempt to rescind DACA in 2017 was met with twelve lawsuits

in six federal courts. ECF 501 at 5. Multiple courts blocked that attempt, even with

the further clarification provided by a new memorandum in 2018. Regents, 140 S.Ct.

at 1913. A month later, the Federal Defendants attempted to merely limit the scope

of the program in response to Regents. ECF 402-1 at 5. Even that effort spurred

fourteen lawsuits in six federal courts. Just days ago, a federal district court once

again blocked those efforts. Ex. 1.

      What’s needed now is nothing short of a court order setting aside the unlawful

program.

      Any concerns over the impact of this Court’s compliance with the set-aside

requirements of the APA can and should be addressed by providing time for the

Federal Defendants to responsibly wind-down the program. This Court has authority

and discretion to enter a stay of its ruling that would permit existing grants of

deferred action to expire under the terms of the program while the appellate review

of the set-aside winds its way through the reviewing courts.

                                      CONCLUSION

      The Defendant-Intervenors continue to push for a conception of Executive

power “that Justice Kennedy rightly described as ‘upside-down’ and ‘backwards.’”

ECF 319 at 116. “If the nation truly wants to have a DACA program, it is up to

Congress to say so.” Id. at 117. Congress has not yet said so, so DACA remains just

as unlawful today as it was when it was created through the 2012 DACA

Memorandum. Therefore, that agency action must be set aside.



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November 20, 2020                           Respectfully submitted.

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        I certify that on November 20, 2020, this document was electronically filed with
the Clerk of the Court using the CM/ECF system, which will send notification of such
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